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                     EXHIBIT J
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    FROM:           Bob Bereuson
                                                                Data
    SUBJECT;        8/2 Draft Options for DOJ’s Alternative AWP
                                                             alternative AWP data provided by
    HCFA has beers considering options for acting on the
                               drugs. Requir ing  carrier s to use these alternative AWP data
    P03 for apraximately .50
                                                            Red   Book, would have the intcnded
    instead ofthe usual AW? data, for example from the                 ers and suppliers who bill
                                         margin s realize d by  provid
    effect ofreducing the current profit
    Medicare fur these drugs.
                                                                             send, in June, the DOJ
    The Secretary informed Congressman Bliley that HCFA would
                                                             ine averag   e wholes   ale psicca for their
    data to carriers so they can use it when they determ                                e effective
                                         drug   allowa  nces, which    would   becom
    next quaiterly update ofMedicáre
                2000.   She inform ed  the Congr   essman   that this  was  the  most   immediate action
    October 1,                                                                              also indicated
                                                           rule-m  aking   proces  s.   She
    HCFA could take without undergoing the formal                                        develo  ping
                                    explor  e with  D0J   and  10  the  feasibi lity of
    that HCFA would:)) further                                                                 r camera
                                                                       be used;   2)  monito
    additional means to ensure that accurate drug pricing data
                                                                             explanation of data
    and require that they send to 1-ICFA by September 15, 2000, an
                   for detenn ining payme   nt allowa  nces;  3)  meet   with  the company that
    sources used
                                                   develo  pment  s  and  the need    foe accurate data
    publishes the Red Book. to discuss recent
                              g our curren t legisla tive propos  al from   paying    83 percent of
     and 4) consider revisin                                                                ition costs.
                                                               ians   their actual   acquis
     average wholesales to instead propose paying physic
                                                                           s what they believe would be
     Recently we have met with several provider groups to discus
                                                      change  s for these    drugs, particularly if a
     unintended consequences of dramatic price
     requirement to use   the alterna tive AWP   data  is  implem  ented    immed   iately and without
                                                                DOJ   list that arc  used in treating
     transition. In particular, we discussed drugs on the                             . Across these
                                  ,
     hemophilia, ESRD, cancer urolog       ic condit ion  and  respira  tory  disease
     discus sions, severa l commo   n themes   emerge  d  includ ing:

                                              REDACTED



                                                                           analyzing data to
      In addition to our discussions with provider groups, we have been
                                                             from  saving s estimates, assuming
      determine what if any potential impacts we can glean
      the DOS data are used  as the AW?   in determ ining drug allowa nces.
                                            REDACTED

                                                                                          t are
                    In light of our discussions and the impacts that our analysis sugges
             le, we have  develo ped  a numbe r of option s for your consideration . They arc listed
      possib
      in the attachment.




                                                                                                             HHD34O-0005   F
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               82 Draft Options for DOJ’s Alternative AW? Data




    Option 1




    Pros:




                                REDACTED


    Option 2




                                                                 H H D340-0006
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                            REDACTED



     Pros:


     Cons:




     OptIon 4 Pufl-Back.


                             REDACTED

     Pros:




                                                          H H D340-0007
CY 1999 Data (95% complete)

    .                             Percent of
                                    Total      Total     Total D03 Percent oi    Total                Percent of
Te of Servicc/                    Revenue       P03        Drug       Drug        P03       Percent    Revenue
    edicare          Drug Dollars    by         Drug     Dollars by Dollars by   Dollar    Reduction Reduction by
    1 Dollars        by Specialty Specialty    Dollars   Specialty   Specialty   Saiings   per D1u8    Specialty    Oett1Dg Factor
      ESRD
  (lidcpendent
 Fariilltics Only)                                                                                                  OBBR.A Comp Rate incr (l.2%S3OM)
      544B             545DM       10.2%       S3SSM      535DM       98.6%      593M       26.6%       2.1%        QOive.Back additional l.2%(S3OM)
    :                                                                                                               UCalcittiol and Iron Dextran are also hi Oral form
                                                                                                                    (non-covered)
                                                                                                                    050.50 fbr supplies er encounter
DME Pharmacy                                                                                                        Osubstitute Drugs for Albuterol
        $2.2B          571DM       :323%       $293M      529DM       99.0%      $193M      65.9%       8.7%        ORental/dispensutionfeeS3lM
                                                                                                                    QD3S Asthma lntisth’e
                                                                                                                    0010 savings $47M4115M depending on
                                                                                                                    commercial AWP source
                                                                                                                    OVA AWP-$200Msavings
    Urology                                                                                                         OLeast Costly Alternativc (Zoladex) In 37 States
        $2.18          590DM       42.9%       $637M      557DM      89.5%       $132M      20.7%       5.7%        QZadeAW1’.DOJ LuprunAWP
   Oncology                                                                                                         OChemotherapy administration PE $130M
                                                                                                                    Dlncresse number ofpushes per day- currently only
        $3.4B          S1.6B       66.7%       $108M      52651W     88.9%       S169M      56.7%       63%         one per day
  Iemophilia                                                                                                        ONoue
   ‘S90.IM             $90.7M      100.0%      59L7M                 100.0%      529.7M     32.7%       32.7%
         Misc                                                                                                       ON/A
        S1ZOM                                  512DM                   r1IA      $36.ZM     30.3%        N/A,
        Sum-           53.758                   SIJB                             S653M                              ON/A
 Total Medicare        54.58                   40.0%                                                                ON/A


N(*E: 22 drugs on thLr 1lr are also pass thru drugsfor Q/FFFS.




                                                                                                                                          o
                                                                                                                                                                         Case 1:01-cv-12257-PBS Document 6586-11 Filed 10/13/09 Page 5 of 7
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8I2/2t     14:4q     fl1—1ub-b1t                      r4.4   AT r                                r.-.jc   U.2




         FedetI Upper Urnit (ETJL)

         This is a Iiuiit establi3hcd in the Mcdjcajd program and is defined in Medicaid
         as 150 percent of the lowest price available in peblisbed sources.              regulations
                                                                             Medicaid has already
         deterxuined the data sources to be First Data Baulç RedBook and
                                                                            Medispau as ofJanuary,
         2000, The FUL does not relate to the DOJ price as it would apply to
                                                                                Medicare because
         the Medicare law requirca 95 percent of the AWP.




                                                                                                       H H D340-0009
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